           Case 3:16-cv-00269-PK      Document 267       Filed 10/01/18     Page 1 of 11




                          THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                    PORTLAND DIVISION

MORASCH MEATS, INC.,
                                                No. 3:16-cv-0269-PK
            Plaintiff,

       V.                                       OPINION AND ORDER

FREVOL HPP, LLC, fka FRESHER
EVOLUTION HPP, L.L.C., et al.,

            Defendants.

P APAK, Magistrate Judge:

       Plaintiff Morasch Meats, Inc. brings this action for breach of contract and fraud against

Defendants Frevol HPP, LLC (Frevol); All Natural Freshness, Inc. (ANF); and Gerald Ludwick

(Ludwick). Because Defendants filed petitions for bankruptcy relief, this action has been stayed

indefinitely. ECF No. 253. I now address Plaintiffs motions for sanctions against Defendants'

counsel, Alexander Trauman and Michelle Vocht. ECF Nos. 156,254. For the following

reasons, I deny Plaintiffs motions for sanctions. I also deny defense counsel's requests for

Page -1-    OPINION AND ORDER
           Case 3:16-cv-00269-PK       Document 267       Filed 10/01/18      Page 2 of 11




sanctions. ECF Nos. 258, 260.

                               PROCEDURAL BACKGROUND

        Plaintiff initially moved for sanctions against Defendants' counsel in Januaiy 2018. ECF

No. 156. Following my usual practice, I reserved ruling on sanctions until this litigation had

concluded. Because of the bankruptcy stay, I now address the motions for sanctions.

       Since the bankruptcy stay took effect, Plaintiff has filed a supplemental motion for

sanctions, seeking an award of more than $500,000 for attorney's fees and costs incu1Ted. ECF

No. 254. In their response briefs, Defendants request sanctions against Plaintiffs counsel.

Defs.' Response 41 (Vocht), ECF No. 258; Defs.' Response 11 (Trauman), ECF No. 260.

                                     LEGAL STANDARDS

I. Sanctions Under Federal Rule of Civil Procedure 11

       Federal Rule of Civil Procedure 11 provides that every pleading, motion, or other paper

presented to the comt must be signed by an attorney, or the pa1ty if not represented by an

attorney. Fed. R. Civ. P. 1 l(a). Rule 1 l(b) provides:

       By presenting to the comt a pleading, written motion, or other paper--whether by
       signing, filing, submitting, or later advocating it--an attorney or unrepresented
       party certifies that to the best of the person's knowledge, infonnation, and belief,
       fo1med after an inquiry reasonable under the circumstances:

       (1) it is not being presented for any improper purpose, such as to harass, cause
       unnecessary delay, or needlessly increase the cost of litigation;

       (2) the claims, defenses, and other legal contentions are warranted by existing law
       or by a nonfrivolous argument for extending, modifying, or reversing existing law
       or for establishing new law;

       (3) the factual contentions have evidentiaiy supp01t or, if specifically so
       identified, will likely have evidentiary support after a reasonable oppo1tunity for
       further investigation or discovery; and


Page -2-    OPINION AND ORDER
           Case 3:16-cv-00269-PK       Document 267        Filed 10/01/18      Page 3 of 11




        (4) the denials of factual contentions are 'wal1'anted on the evidence or, if
        specifically so identified, are reasonably based on belief or a lack of information.

Fed. R. Civ. P. 1 l(b).

       A court may impose sanctions under Rule 11 if the "pleading, motion, or other paper" in

question is frivolous or brought for an improper purpose. Townsend v. Holman Consulting

Corp., 929 F.2d 1358, 1362 (9th Cir. 1990) (en bane) (citing Zaldivar v. City of Los Angeles, 780

F.2d 823, 832 (9th Cir. 1986), overruled on other grounds by Cooter & Gell v. Hartmarx Cmp.,

496 U.S. 384 (1990)). Both inquiries are objective. Townsend, 929 F.2d at 1362. "Although the

'improper purpose' and 'frivolousness' inquiries are separate and distinct, they will often overlap

since evidence bearing on frivolousness or non-frivolousness will often be highly probative of

purpose." Id.

       Under Rule l l(c)(4),

       A sanction imposed under this rule must be limited to what suffices to deter
       repetition of the conduct or comparable conduct by others similarly situated. The
       sanction may include nonmonetaiy directives; an order to pay a penalty into court;
       or, if imposed on motion and warranted for effective detel1'ence, an order directing
       payment to the movant of pait or all of the reasonable attorney's fees and other
       expenses directly resulting from the violation.

A paity seeking sanctions under Rule 11 has the burden of showing that sanctions are justified.

See Tom Growney Equip., Inc. v. Shelley Irrigation Dev., Inc., 834 F.2d 833,837 (9th Cir. 1987).

       Rule 11 "must be read in light of concerns that it will ... chill vigorous advocacy."

Cooter & Gell, 496 U.S. at 393. "If, judged by an objective standard, a reasonable basis for the

position exists in both law and in fact at the time the position is adopted, then sanctions should

not be imposed." Golden Eagle Distrib. Corp. v. Burroughs Corp., 801 F.2d 1531, 1538 (9th

Cir. 1986). "[T]he conduct fonning the basis of the charge of harassment must do more than in


Page -3-    OPINION AND ORDER
           Case 3:16-cv-00269-PK         Document 267      Filed 10/01/18     Page 4 of 11




fact bother, annoy or vex the complaining party. Harassment under Rule 11 focuses upon the

improper purpose of the signer, objectively tested, rather than the consequences of the signer's

act, subjectively viewed by the signer's opponent." Zaldivar, 780 F.2d at 831-32. The court has

discretion in deciding whether to impose a sanction under Rule 11. Fed. R. Civ. P. 1 l(c).

II. Other Sources of Authority to Impose Sanctions

       "Conduct in depositions, discovery meetings of counsel, oral representations at hearings,

and behavior in prior proceedings do not fall within the ambit of Rule 11." Christian v. 1vfattel,

Inc., 286 F.3d 1118, 1131 (9th Cir. 2002). However, in addition to Rule 11, "the district court

has a broad array of sanctions options at its disposal," including "28 U.S.C. § 1927, and the

court's inherent authority. Each of these sanctions altematives has its own particular

requirements, and it is imp01iant that the grounds be separately articulated to assure that the

conduct at issue falls within the scope of the sanctions remedy." Christian, 286 F.3d at 1131.

The Federal Rules of Civil Procedure goveming discove1y, and this district's Local Rules also

authorize the imposition of sanctions.

       A. Sanctions Under 28 U.S.C. § 1927

       Under 28 U.S.C. § 1927, "Any attomey ... who so multiplies the proceedings in any

case unreasonably and vexatiously may be required by the cou1i to satisfy personally the excess

costs, expenses, and attomeys' fees reasonably incmTed because of such conduct." 28 U.S.C. §

1927. To justify an award fees under§ 19.27, the comi must find subjective bad faith. New

Alaska Dev. Corp. v. Guetschow, 869 F.2d 1298, 1306 (9th Cir.1989). "'Bad faith is present

when an attorney knowingly or recklessly raises a frivolous argument, or argues a meritorious

claim for the purpose of harassing an opponent."' Id. (quoting Estate ofBlas v. Winkler, 792


Page -4-    OPINION AND ORDER
           Case 3:16-cv-00269-PK         Document 267       Filed 10/01/18      Page 5 of 11




F.2d 858, 860 (9th Cir.1986) (citations omitted by New Alaska)). "For sanctions to apply, if a

filing is submitted recklessly, it must be frivolous, while if it is not frivolous, it must be intended

to harass." In re Keegan 1vfgmt. Co., 78 F.3d 431, 436 (9th Cir. 1996). "The purpose of§ 1927

may be to deter attorney misconduct, or to compensate the victims of an attorney's malfeasance,

or to both compensate and deter." Haynes v. City and Cty. of San Francisco, 688 F.3d 984,987

(9th Cir. 2012). Although§ 1927 "confers substantial leeway on the district cou1i when

imposing sanctions," the court may not "sanction an attorney for more than the excess costs,

expenses and fees incutTed by the opposing pmiy, but is not required to impose an award that

high." Haynes, 688 F.3d at 987 (citations omitted). The court may consider the "sanctioned

attorney's ability to pay." Id.

          B. Sanctions Under Court's Inherent Power

          The court has the inherent authority to impose sanctions for "bad faith" actions by

counsel, "which include[] a broad range of willful improper conduct." Fink v. Gomez, 23 9 F.3d

989, 991-92 (9th Cir. 2001). The court's "inherent power ... can be invoked even if procedural

rules exist which sanction the same conduct." Chambers v. NASCO, Inc., 501 U.S. 32, 49

(1991).

          (S]anctions are available if the comi specifically finds bad faith or conduct
          tantamount to bad faith. Sanctions are available for a variety of types of willful
          actions, including recklessness when combined with an additional factor such as
          frivolousness, harassment, or an improper purpose. Therefore ... an attorney's
          reckless misstatements of law and fact, when coupled with an improper purpose, .
          . . are sanctionable under a cou1i' s inherent power.

Fink, 239 F.3d at 994. "The inherent power to sanction 'must be exercised with restraint and

discretion."' Clear Skies Nevada, LLC v. Doe-98.232.166.89, No. 3:15-cv-2142-AC, 2016 WL



Page -5-     OPINION AND ORDER
           Case 3:16-cv-00269-PK       Document 267        Filed 10/01/18     Page 6 of 11




4445244, at *1 (D. Or. Aug. 19, 2016) (quoting Chambers, 501 U.S. at 44).

       C. Sanctions Related to Discovery Under the Federal Rules of Civil Procedure

       Several of the Federal Rules of Civil Procedure governing discovery authorize sanctions.

Rule 16(f)(l) authorizes sanctions for (A) failure to appear at a scheduling or other pretrial

conference; (B) being "substantially unprepared to participate--or ... not pmiicipat[ing] in good

faith--in the conference"; or (C) "failure to obey a scheduling or other pretrial order." Rule

26(g)(3) authorizes sanctions for failure to properly sign and certify disclosures, discove1y

requests, responses, and objections. Rule 30(d)(2) authorizes sanctions "on a person who

impedes, delays, or frustrates the fair examination of the deponent." Rule 37(b) authorizes

sanctions "if a paiiy 'fails to obey an order to provide or permit discovery."' Safi v. Corona

Reg"l ivied. Ctr., 884 F.3d 1218, 1222 (9th Cir. 2018) (quoting Fed. R. Civ. P. 37(b)(2)(A)).

       D. Local Rules on Attorney Conduct

       Plaintiff also cites Local Rule 83 as a basis for its motion for sanctions. Local Rule 83-7,

Standards of Professional Conduct, provides:

       Eve1y attorney admitted to general or special practice and eve1y law student
       appearing pursuant LR 83-5 must:

       (a) Be familiar and comply with the Oregon State Bar Standards of Professional
       Conduct and this Court's Statement of Professionalism. (See Statement of
       Professionalism.)

       (b) Maintain the respect due to comis of justice and judges.

       (c) Perform with the honesty, care, and decorum required for the fair and efficient
       administration of justice.

       (d) Discharge his or her obligations to clients and the Court and assist those in
       need of counsel when requested by the Court.



Page -6-    OPINION AND ORDER
        Case 3:16-cv-00269-PK           Document 267        Filed 10/01/18    Page 7 of 11




Local Rule 83-8, Cooperation Among Counsel, provides:

        (a) Counsel must cooperate with each other, consistent with the interests of their
        clients, in all phases of the litigation process and be courteous in their dealings
        with each other, including matters relating to scheduling and timing of various
        discovery procedures.

        (b) The Court may impose sanctions if it finds that counsel has been umeasonable
        in not accommodating the legitimate requests of opposing counsel. In a case
        where an award of attorney fees is applicable, the Court may consider lack of
        cooperation when setting the fee.

Local Rule 83-7(a) refers to this court's Statement of Professionalism, which includes fourteen

guidelines for proper conduct that apply to all attorneys admitted to practice in this court. This

court has imposed sanctions based in part on Local Rule 83-8. See Lee v. Columbia Collection

Servs., Inc., No. 3:13-cv-02033-ST, 2015 WL 758995, at *4 (D. Or. Feb. 23, 2015) (imposing

sanctions when the plaintiffs attorney "had no reasonable justification for attempting to

terminate [a witness's] deposition before allowing [the defendant's attorney] an opportunity to

cross-examine her").

                                           DISCUSSION

        Plaintiff contends that Vocht should be sanctioned, arguing that Vocht's "motions,

pleadings, and tactics throughout this litigation have been replete with factual inaccuracies,

inconect assertions oflaw, baseless legal arguments, and typographical errors." Pl.'s Suppl.

Mot. Sanctions 6, ECF No. 254. Plaintiff contends that Trauman should be sanctioned because

he allegedly acted in bad faith to delay and avoid the trial.

I. Vocht's Conduct

        Plaintiff requests more than $200,000 in sanctions under Rule 11 against Vocht for

attorney's fees incurred by Plaintiff in opposing Defendants' motions, including Defendants'


Page -7- OPINION AND ORDER
           Case 3:16-cv-00269-PK       Document 267        Filed 10/01/18     Page 8 of 11




Motion for Leave to Amend Counterclaim, ECF No. 116; Amended Motion to Dismiss for

Failure to State a Claim, ECF No. 130; and Second Motion for Summaty Judgment, ECF No.

136, as well as fees incurred in filing its own Motion for Pattial Summary Judgment, ECF No.

137. Plaintiff contends that Defendants' briefs were filled with legal and factual errors, and that

Plaintiff incurred fees correcting Defendants' mistakes and opposing arguments that Defendants

ultimately conceded.

        Plaintiff has not shown that Defendants' legal positions were frivolous. See Conn v.

Bo1jorquez, 967 F.2d 1418, 1421 (9th Cir. 1992) (in assessing frivolousness, issue is not whether

pleader is correct in her perception of the law). The Supreme Court has cautioned that Rule 11

should not be used to "chill vigorous advocacy." Cooter & Gell, 496 U.S. at 393. And the Ninth

Circuit has emphasized that "Rule 11 is an extraordinary remedy, one to be exercised with

extreme caution." Conn, 967 F.2d at 1421 (citation omitted).

       Nor has Plaintiff shown that Vocht took legal positions for an improper purpose. See

Zaldivar, 780 F.2d at 831-32 (under Rule 11, comt "focuses upon the improper purpose of the

signer, objectively tested, rather than the consequences of the signer's act, subjectively viewed by

the signer's opponent"). Plaintiff has not shown that Vocht should be sanctioned under Rule 11.

       Plaintiff also seeks sanctions for (1) Vocht' s failure to c01Tectly number documents;

(2) Vocht's conduct during depositions; (3) Vocht's claim that Plaintiff had wiretapped her; and

(4) Vocht's initial opposition to Plaintiffs motion for provisional process. I have reviewed the

patties' descriptions of these incidents, and find that whether considered together or separately,

these incidents are not serious enough to support sanctions under any of the legal bases for

sanctions. For example, Vocht' s failure to number documents co1Tectly may have created


Page -8-    OPINION AND ORDER
           Case 3:16-cv-00269-PK       Document 267        Filed 10/01/18    Page 9 of 11




additional work for Plaintiffs counsel, but there is no evidence that Vocht' s conduct was

intentional.

       Plaintiff seeks about $100,000 in fees incuned for trial preparation between May 29,

2018, and June 21, 2018, when Defendants notified the cou1t and counsel that each Defendant

had petitioned for bankruptcy relief. Plaintiff argues that these fees could have been avoided

because "Defendants' Counsel knew that Defendants were preparing to file bankruptcy and stay

the litigation." Pl.'s Suppl. Mot. Sanctions 22.

       Plaintiff has not shown that Vocht should be sanctioned for failing to warn Plaintiff that

Defendants would seek bankruptcy relief. Vocht denies knowing whether Defendants would

seek bankruptcy protection, and denies giving Defendants legal advice regarding bankruptcy.

Even if Plaintiff could show that Vocht knew Defendants intended to seek bankruptcy protection,

Plaintiff has not shown that Vocht was under an ethical obligation to notify Plaintiff. I conclude

that Vocht's conduct regarding Defendants' bankruptcy petitions is not a basis for sanctions.

II. Trauman's Conduct

       Plaintiff seeks sanctions against Trauman, contending that his request for a set-over of the

trial was an improper delaying tactic. Plaintiff also argues that Trauman caused Plaintiff to incur

fmther fees by successfully seeking to withdraw as local counsel. I conclude, however, that

Trauman' s actions do not suppott an award of sanctions.

       In October 2017, this court set a ten-day jury trial to begin March 27, 2018. ECF No.

120. In Februaiy 2018, Trauman notified Plaintiffs counsel that he was seeking a set-over of the

trial to take paternity leave. Trauman now explains that when this comt originally set the trial

date, the baby was expected to arrive in mid-April, but in late Februaty a physician found


Page -9-    OPINION AND ORDER
        Case 3:16-cv-00269-PK          Document 267        Filed 10/01/18     Page 10 of 11




medical complications requiring that labor be induced early. On March 1, 2018, I granted

Trauman's request for a set-over. ECF No. 185. This court's schedule required resetting the trial

to July 2018, although Trauman stated that he would accept a set-over of a few weeks. I find that

Trauman did not commit sanctionable behavior in seeking a set-over.

        On May 1, 2018, Trauman moved to withdraw as local counsel. ECF No. 197. At a

telephone hearing on May 4, 2018, I provisionally granted Trauman's motion to withdraw, and

gave Vocht twenty days to notify the cou1i whether Defendants had retained new local counsel.

ECF No. 200. Defendants did not retain new local counsel, and on May 24, 2018, Plaintiff

moved for ent1y of default as to Defendants ANF and Frevol because these defendants could not

proceed without counsel. ECF No. 207. I denied Plaintiffs motion for default, ruling that with

trial imminent, Vocht could represent Defendants without local counsel. ECF No. 216. I find

that Plaintiff has not shown Trauman's request to withdraw justifies sanctions.

III. Conclusion

       I have presided over this litigation from the filing of the complaint. I had concerns that

some of Defendants' filings included dubious arguments and were somewhat disorganized. I

conclude, however, that sanctions are not wananted under Rule 11 or the other sources of

authority for imposing sanctions. Plaintiff has not shown that Defendants' counsel took positions

in bad faith, or improperly attempted to delay or obstruct the trial. I also conclude that

Defendants have not shown that Plaintiffs counsel should be sanctioned.

                                          CONCLUSION

       Plaintiffs Motion for Imposition of Sanctions, ECF No. 156, and Supplemental Motion

for Imposition of Sanctions, ECF No. 254, are DENIED. Defendants' counsel Michelle Vocht's


Page -10- OPINION AND ORDER
       Case 3:16-cv-00269-PK        Document 267           Filed 10/01/18   Page 11 of 11




request for sanctions, ECF No. 258, and Alexander Trauman's request for sanctions, ECF No.

260, are DENIED.

       IT IS SO ORDERED.

              Dated this 1st day of October,   2pis. ✓')      ()(\   )~         V
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                                               Honorable Paul Papak
                                               United States Magistrate Judge




Page -11- OPINION AND ORDER
